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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                          WEST PALM BEACH DIVISION
                              CASE NO. 19-CR-80181-RAR-1
    3
         UNITED STATES OF AMERICA,                   Miami, Florida
    4
                                                     December 9, 2022
    5                vs.
                                                     10:51 a.m. - 3:23 p.m.
    6
         MINAL PATEL,                                Volume 10
    7
                        Defendant.             Pages 1 to 55
    8    ______________________________________________________________

    9
                              TRANSCRIPT OF JURY TRIAL
   10                 BEFORE THE HONORABLE RODOLFO A. RUIZ, II
                            UNITED STATES DISTRICT JUDGE
   11
         APPEARANCES:
   12

   13    FOR THE GOVERNMENT:             JAMIE DE BOER
                                         EMILY GURSKIS
   14                                    REGINALD CUYLER
                                         KATHERINE ROOKARD
   15                                    UNITED STATES DEPARTMENT OF JUSTICE
                                         CRIMINAL DIVISION, FRAUD SECTION
   16                                    1400 New York Avenue, 8th Floor
                                         Washington, D.C. 20005
   17
         FOR THE DEFENDANT:              STEVEN H. SADOW
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                                         Atlanta, Georgia 30303
   20
         STENOGRAPHICALLY REPORTED BY:
   21
                                ILONA LUPOWITZ, CRR, RPR, RMR
   22                           Official Court Reporter to:
                                The Honorable Rodolfo A. Ruiz, II
   23                           United States District Court
                                299 East Broward Boulevard
   24                           Fort Lauderdale, Florida 3301
                                (954) 769-5568
   25
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    1    (Appearances continued)

    2
         FOR THE DEFENDANT:                   DONALD F. SAMUEL
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    1                                    I N D E X

    2    WITNESS                                                           PAGE

    3    SHAWN GRINER

    4    RECROSS-EXAMINATION BY MR. SADOW:                                  20

    5
                                 GOVERNMENT'S EXHIBITS
    6

    7
         Exhibit                                                    Received
    8
         405, 407, 501, 502,                                        21
    9    503, 504, 505, 506,
         507, 508, 604,
   10    604-A, 611, 611-A,
         611-B, 613, 613-A,
   11    614, 614-A, 615,
         615-A, 615-B, 1340,
   12    1370, 1413, 1413-A,
         1421, 1421-A through
   13    C, 1529, 1687, 1768,
         1870, and 1870-A
   14    1115-F, P and K                                            22

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    1              (Call to the Order of the Court.)

    2              THE COURT:    All right.    Turning back to the trial

    3    proceedings, let's get an update from the government on our

    4    plan.   I think we had contemplated -- at least I had

    5    contemplated -- besides Dr. Yogel, of having Mr. Griner take

    6    the stand, that's what I was thinking, and get that issue on

    7    the 302 out of the way first and then call Yogel.          That's what

    8    I thought this morning.      But maybe there's been a change.

    9              What's the latest from the government?

   10              MS. DE BOER:    So we no longer intend to call Dr. Yogel.

   11    I think what's left for the government's case is we have some

   12    exhibits left to move into evidence.

   13              And then, Your Honor might remember from our pretrial

   14    hearings there was the deposition and some statements that

   15    Mr. Patel made in the deposition, and there was going to be a

   16    stipulation, just as background, about there was this lawsuit,

   17    and then read into the record the few exhibits.

   18              We have not been able to reach agreement on the

   19    stipulation, so that's one thing we need to address.           And then

   20    I think there's some dispute -- I don't believe there's a

   21    dispute as to the additional non-deposition exhibit that we

   22    just want to move in.

   23              I do think there is a dispute as to which pieces of the

   24    deposition should be used, and I will let Ms. Gurskis and

   25    Mr. Sadow speak to that.
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    1              And Mr. Griner is here, at least he was when I walked

    2    into the courtroom.     And we put him on, clean that up, and then

    3    move the rest of the exhibits in, and then the government will

    4    rest.

    5              THE COURT:    So here's what I think we can do.       Let's

    6    start off with what I foresee for Griner based upon my rulings

    7    yesterday.    I think the easiest thing to do is simply to

    8    explain to the jury, ladies and gentlemen of the jury, as you

    9    know, there have been numerous times where the defense has

   10    engaged in what's known as a recross-examination to clarify a

   11    finer point.

   12              There was an opportunity to do that -- or we've had a

   13    subject that we didn't get a chance to cover, and so we're

   14    going to briefly recall Mr. Griner to allow Mr. Sadow to ask

   15    that follow-up.     That's all I'm going to say, get him on, get

   16    him off, and we're done.      We cure the issue with Griner.

   17              Does that work for the defense team if we do it that

   18    way?

   19              MR. SADOW:    Yes, Your Honor.

   20              THE COURT:    Very good.    All right.    So that will be the

   21    first thing.

   22              Let's talk about the second part of the government's

   23    concern with the depo and the exhibits.         So first, before I get

   24    to the depo, I understand we do have an agreement on moving in

   25    a number of exhibits.      Am I right on that, that the defense
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    1    team is good with a chunk of exhibits being moved in?

    2              MR. SADOW:    The answer is yes.

    3              THE COURT:    Okay.   So the main concern then that we

    4    have to address is having Mr. Patel's deposition presented to

    5    the jury.

    6              Is there a way to maybe explain to the Court what

    7    particular section?      Because it appears that we have some

    8    agreement on it.

    9              But what is the main concern about its contents or its

   10    presentation?

   11              MR. SADOW:    I just emailed the Court --

   12              THE COURT:    Okay.

   13              MR. SADOW:    -- the exhibits that are at issue and

   14    what's going to be admitted.       That is what we agreed to.      And I

   15    can tell you what we have and which ones we want to enter.

   16    There are two, and one that we object to.         Okay?

   17              THE COURT:    Okay.   Let me bring it up right now.       Give

   18    me a second.

   19              MS. GURSKIS:    And we've actually narrowed it even

   20    further in the last 30 seconds to just K and P, which I believe

   21    Mr. Sadow did not object to those.

   22              MR. SADOW:    Well, I have to go back now and look at

   23    what I've sent you to see how that affects --

   24              THE COURT:    So I have 1115-C --

   25              MR. SADOW:    That's one that we want to put in as under
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    1    Rule 106.

    2               THE COURT:   Let's just take them in turn.       What I have

    3    in front of me is seven exhibits.        All of them are 115 with

    4    some letters, C, E, F, G, H, K, and P.        So let's go down the

    5    line.

    6               The first one is 1115-C.     I'm told that this is an

    7    exhibit that the defense wants to be put in.

    8               Do we have an objection from the government on that

    9    one?

   10               MS. GURSKIS:   Yes, it's a self-serving statement of the

   11    defendant, and it is not necessary for the rule of

   12    completeness.     It's just kind of left in there.

   13               MR. SADOW:   And that's why I think you have to look at

   14    everything else.

   15               THE COURT:   I'm opening them, yes, as we're going.

   16    Okay.

   17               MS. GURSKIS:   And, Your Honor, I have hard copies of

   18    the two we want to introduce.

   19               MR. SADOW:   The two are K and P.

   20               THE COURT:   Yes, if you want to come forward.

   21               MS. GURSKIS:   And I also have hard copies of the ones

   22    Mr. Sadow wants to introduce.       I can approach and hand them up

   23    as well.

   24               THE COURT:   Let's go through.     It might be the easiest

   25    thing to do is just let me see where -- I'm going to get
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    1    everyone's position on each one, and then I'll tell you what

    2    I'm going to do.

    3              The first one I know is C, and that is defense wants

    4    it, and government objects.

    5              Second one is E.     Is there agreement on E?

    6              MS. GURSKIS:    We're not moving that one in anymore,

    7    Your Honor.

    8              THE COURT:    So you're not moving in F either?

    9              MR. SADOW:    F is ours.

   10              THE COURT:    F is yours.

   11              Is there an objection from the government on F?

   12              MS. GURSKIS:    Yes, Your Honor, on the same grounds.

   13              THE COURT:    All right.    Let me see.

   14              How about G?

   15              MS. GURSKIS:    We're not moving that one in anymore.

   16              THE COURT:    How about H?

   17              MS. GURSKIS:    We're not moving that one in anymore.

   18              THE COURT:    How about K?

   19              MS. GURSKIS:    Yes, Your Honor.

   20              THE COURT:    Do we have an objection to K?

   21              MR. SADOW:    No objection to K, and no objection on P.

   22              THE COURT:    So the Court just has to make a ruling on C

   23    and a ruling on F, I believe, right?

   24              MR. SADOW:    Right.

   25              THE COURT:    Here's what I'm going to do.      I am
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    1    concerned on C because even if you gave me context, I think

    2    from a self-serving perspective and hearsay perspective it goes

    3    straight to one of the key issues in the case.

    4              I mean, it's very brief, but I have a problem with C.

    5    I understand you could maybe put some gloss on it in context,

    6    but this crosses over from a completeness issue to me.           This is

    7    just in isolation.     Obviously it's self-serving.

    8              But even if you were to insert it into the business

    9    affairs, I have to tell you, I have a bit of a problem with

   10    this one.

   11              I will say, F, I do not.      I think F does not have the

   12    same problems that C does.       I think F has more context and a

   13    little more about the inner workings with Vartanian and

   14    LabSolutions.

   15              So I am going to tell you now, I'm going to overrule

   16    the objection from the government on F.         F is coming in.

   17              But I am going to sustain the government's objection to

   18    C.

   19              So to recap, the Court is not going to let you guys

   20    move in C, but I am going to let you move in F.          And K and P

   21    will both be admitted.      And the government is not seeking

   22    admission of E, G, or H.

   23              So to summarize, 1115-F, 1115-K, and 1115-P are all

   24    coming in.    All right?

   25              MS. DE BOER:     So Your Honor, what we would propose is
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     1    when -- after Mr. Griner and then we'll move in -- we have a

     2    list of exhibits that are not related to the deposition we'll

     3    move in.

     4               And then if Ms. Gurskis could put the deposition

     5    exhibits on the screen and read them after Your Honor reads

     6    whatever stipulation we all come up with, that would be our

     7    request, that she can read them.       There will not be any

     8    dramatization.    It will just be --

     9               THE COURT:   Just read them.    Yeah, we had made that

    10    ruling before.

    11               So do we want, guys -- again, now that I've made

    12    rulings on admissibility and we're reading portions of this in,

    13    or publishing it, really, do we have a stipulation in the

    14    works, or where are we going on what you would like me to read?

    15               MR. SADOW:   We have a disagreement.

    16               THE COURT:   Okay.   Tell me what draft we'll have on the

    17    stipulation.

    18               MS. GURSKIS:   Yes, Your Honor.    I can approach with the

    19    two drafts.

    20               THE COURT:   Did you guys propose this, and then there's

    21    a defense objection?

    22               MS. GURSKIS:   Yes, I have a redline version and then a

    23    clean draft.

    24               THE COURT:   All right.   Perfect.   Let me just take a

    25    look at that and then I'll rule on that.
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     1             MR. SADOW:    We're going to change -- I'll tell you when

     2    you get a --

     3             THE COURT:    Yeah, let me take a look real quick,

     4    Mr. Sadow, and then you'll walk me through your issue on it.

     5             Okay.    I have a proposed government's draft

     6    stipulation.     It reads as follows:    In 2017, Omar Abdel-Aleem,

     7    the former CEO of LabSolutions, sued Minal Patel for wrongful

     8    termination.     During the litigation, Mr. Abdel-Aleem accused

     9    Mr. Patel of violating the Anti-Kickback Statute and of

    10    instructing physicians to use specific ICD-10 codes to maximize

    11    reimbursements.

    12             You are not to consider these allegations for their

    13    truth, but merely as context for statements made by Mr. Patel

    14    in the deposition during the litigation.        These statements by

    15    Mr. Patel will be admitted as Government Exhibits -- and I

    16    think it may not be A through P now, right?

    17             MS. GURSKIS:    Correct, Your Honor.

    18             THE COURT:    It's just P and K?

    19             MS. GURSKIS:    Yes, Your Honor.

    20             THE COURT:    Okay.

    21             MR. SADOW:    F, P, and K.

    22             THE COURT:    I'm sorry.    F, P, and K. Thank you.

    23             All right.    And here's the defense version:       Minal

    24    Patel testified at a deposition on June 15, 2017, and made

    25    certain statements.     These statements are being admitted as
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     1    Government Exhibits 115-F, P, and K.       All right.

     2             MR. SADOW:    And I would add to that, so that the Court

     3    knows:   After 2017 -- I'm sitting so I can see, if that's okay?

     4             THE COURT:    Yeah, that's fine.

     5             MR. SADOW:    After 2017, I would say, in Omar

     6    Abdel-Aleem versus Minal Patel --

     7             THE COURT:    Maybe we should say in the civil matter --

     8             MR. SADOW:    That's fine.

     9             THE COURT:    Right?   In the civil matter of Omar

    10    Abdel-Aleem.

    11             MR. SADOW:    Versus Minal Patel and LabSolutions.

    12             THE COURT:    Minal Patel --

    13             MR. SADOW:    So it would be Minal Patel and

    14    LabSolutions.

    15             THE COURT:    All right.

    16             MR. SADOW:    And then the rest would stay the same.

    17             THE COURT:    So here's what we're going to do on this.

    18    That is way too heavy for context -- we discussed this

    19    pretrial -- to get into anti-kickbacking statute and

    20    Abdel-Aleem's accusations.      Even if you qualify it, that is a

    21    very big line to put out there in front of the jury with a

    22    qualifier.

    23             From a 403 perspective, I don't need something that

    24    heavy.   I can get there by reading a modified version of the

    25    defense draft.    So again, this is what I'm proposing.
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     1             Minal Patel testified at a deposition on June 15, 2017,

     2    and made certain statements in the civil suit of Omar

     3    Abdel-Aleem versus Minal Patel and LabSolutions.         These

     4    statements are being admitted as Government's Exhibits 115-F,

     5    P, and K.

     6             And then I would add, you know, it is up to you to

     7    decide how much weight to give to these statements.

     8             MR. SADOW:    That's fine.

     9             THE COURT:    That's what we give whenever we read one of

    10    these stipulations.     Okay?

    11             Any major objections to the revised draft of the

    12    government?    I know you want the one that's more detailed, but

    13    any other concerns?     I'm not going to give you all that.       But I

    14    think this gives me enough.

    15             MS. GURSKIS:    No objections, Your Honor.

    16             THE COURT:    Thank you.    All right.    So we've taken care

    17    of the admission of those exhibits; we've taken care of the

    18    stipulation.

    19             Anything else on the government's side?

    20             I think then the goal would be to have Griner come up.

    21    I'll give that qualifier.       Mr. Sadow will ask his limited

    22    question.   Griner will be excused.      Then I will go to the

    23    stipulation.    I'll read it.    You guys will get up on the

    24    overhead projector and put up those statements and just do a

    25    dry reading of them.
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     1               And then, after that, am I expecting then the

     2    government would rest?

     3               MS. DE BOER:   Yes, Your Honor.

     4               THE COURT:   Okay.   All right.   So let's talk a little

     5    bit because I want to do all of this with my jurors and give

     6    them a sense of expectation.

     7               So I plan on having them show up at 9:00 a.m. on

     8    Monday, and that's what I'm going to tell them at the end here.

     9    And again, it would be a regular day on Monday, 9:00 to 5:00.

    10    This will give us a big chunk of time this afternoon to sort

    11    out the remaining things with Dr. Hegde.

    12               So it would be good to use that time to -- maybe I can

    13    ask you all to come back after lunch, maybe closer to

    14    3:00 o'clock, with a status update and just tell me what's

    15    going on.

    16               I can give you now a chunk of time to maybe call over

    17    and find out what's going on with Dr. Hegde, and I can figure

    18    all that out for us before we break today.

    19               Does that make sense for the defense?      We might as well

    20    take an extended break, and you can come back and let me know

    21    at 3:00.    I don't know if you want to do motions after lunch.

    22               What would you want to do?    Anything else?     What's your

    23    plan?

    24               MR. SADOW:   I think Mr. Samuel would be the individual

    25    doing the motions.      I don't think he is prepared to do so.
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     1               THE COURT:    Okay.

     2               MR. SADOW:    Again, obviously we'll do it at the

     3    discretion of the Court.

     4               THE COURT:    Yeah.   I mean, I could take a break after

     5    we deal with the government resting.       Because I think we can

     6    cover everything we need in the next hour and a half and then

     7    be done.    I just want to get the jurors home, because I can let

     8    them go at a midday, and then we can stay behind and figure out

     9    what we want to do.

    10               MR. SAMUEL:   I can certainly do an outline of the

    11    Rule 29, just to protect the record.       But as far as briefing it

    12    and going through, you know, the record, I can do that in

    13    writing and submit it to the Court.       But just to protect the

    14    record so that the motion has been filed at the appropriate

    15    time, I can do that now.

    16               THE COURT:    Yeah.   Do you want -- maybe the easiest

    17    thing to do -- do you want, Mr. Samuel, to -- because it worked

    18    out organically given where we are in the timeline, you would

    19    like to maybe just put a pin in it, briefly make the arguments,

    20    and indicate that you will be filing a written motion fleshing

    21    it out?

    22               MR. SAMUEL:   That would be ideal.

    23               THE COURT:    Okay.

    24               MR. SAMUEL:   We'll get -- I'll get the written motion

    25    to you to the extent that we flesh out some more before Monday
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     1    morning, in case you want to rule on it or you're going to

     2    reserve, whatever you're going to do.

     3             But, you know, if we could do it before lunch, I'd like

     4    to.   Some of us are trying to catch a flight home today.

     5             THE COURT:    Oh, okay.    I'm glad you told me.     I would

     6    prefer to go ahead and do that.      If we can do that, I'll get

     7    you out of here.

     8             The only thing that is -- that I have -- well,

     9    depending on who needs to stay, I would prefer this afternoon

    10    that I just get some updates.       You don't have to stay around

    11    for that, but just some updates on what's happening with Hegde

    12    in case I've got to move things around.

    13             MR. SADOW:    I'll be here.

    14             THE COURT:    Okay.   All right.

    15             MR. SAMUEL:    We'll leave the young associate here to

    16    handle those matters.

    17             THE COURT:    Very good.    So what we'll do is we'll

    18    probably touch base at some point before we officially break.

    19    I'll probably have you guys come back, say, like around

    20    3:00 o'clock, just for a final status to make sure everything

    21    is good to go.    And then we'll break for the rest of the day.

    22             But that'll help me get a better sense of what we think

    23    we're going to be expecting, since that would be Monday morning

    24    if, indeed, we're going to call her.

    25             And I've got to make a judgment call on the Zoom issue.
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     1    And I've got to do that kind of before we break today -- I

     2    mean, I do.    So -- all right?

     3               MR. SADOW:   Could the defense briefly meet with the

     4    Court ex parte to discuss something to do with Ms. Hegde?

     5               THE COURT:   Yeah, yeah.   We could do that.     Come on up

     6    and we'll do that real quick.      Come on up.

     7            (The following proceedings were held sidebar:)

     8               THE COURT:   What's going on?

     9               MR. SADOW:   Obviously, we can't make a decision on

    10    whether we're going to call her.

    11               THE COURT:   I know.   I know you can't.

    12               MR. SADOW:   But the more important thing is, when the

    13    Court tells the jury about Monday, don't tell them we're going

    14    to put up a case because there is a possibility we may not.

    15               THE COURT:   Gotcha.   But you could rest on Monday.

    16    You'll make that call.

    17            (Proceedings returned to open court.)

    18               THE COURT:   Okay.   I think we have our game plan.      So

    19    let's go ahead, just so I can take care of these kind of loose

    20    ends here, and we can finish up with the government's case.

    21    Okay?

    22               All right.   Let's go ahead and see if we could round up

    23    our jurors, please.

    24               THE COURT SECURITY OFFICER:     All rise for the jury.

    25            (Jury enters at 11:10 a.m.)
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     1               THE COURT:   Please be seated, everyone.

     2               Ladies and gentlemen of the jury, good to see you all.

     3    Did I get everybody a donut that wanted a donut?

     4               Okay.   I went -- you know, it's a very tough decision.

     5    I went in there today -- and I gave you guys two boxes of

     6    glazed last Friday.     And I said, you know, that was kind of

     7    boring.    So I got one box of glazed, and one was -- I think I

     8    only put six jelly donuts in there.       So I don't know if anybody

     9    liked that, but I figured I'd change it up.        So I'm glad that

    10    that worked for you guys.

    11               Thank you again, as always, for your dedication and for

    12    being here on time.     We've done a lot of homework, so I don't

    13    want you to think that, when you guys are sitting in there,

    14    that we're twiddling our thumbs out here.        The lawyers and I

    15    are doing a lot of things to streamline and present the issues

    16    for you in a very clean way.      So I really appreciate you guys

    17    giving us an opportunity to do that.

    18               The first thing we're going to do today is we're going

    19    to recall a witness briefly.      You may have recalled that,

    20    during the trial, sometimes there are what are known to be a

    21    recross.    Meaning that -- and you guys are all nodding your

    22    heads because I think you've seen it.       You probably have an

    23    unbelievable working knowledge of how a trial is conducted

    24    after the last two weeks.

    25               But sometimes there can be issues, just between
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     1    scheduling and covering material, that we didn't get a chance

     2    to allow the defense to follow up on.

     3               So Mr. Griner was called a few days ago.      We're going

     4    to call him briefly only so that Mr. Sadow can ask him a

     5    follow-up that he intended to do on a recross and, due to

     6    scheduling, we couldn't accommodate.

     7               Do you all understand?

     8               All right.   So this is a limited issue, but I want to

     9    take care of that first because we made this work for

    10    scheduling to make life easier for all of you.

    11               So with that being said, can we recall Mr. Griner?        I

    12    see him here.

    13               Mr. Griner, good to see you again.      Make your way up,

    14    please, and just grab a seat.       And I'm going to put you under

    15    oath again.    I know you still technically were from last week

    16    or earlier this week, but we're going to go ahead and do that.

    17    Please raise your right hand.

    18               (Government witness, SHAWN GRINER, duly sworn.)

    19               THE COURTROOM DEPUTY:    Please be seated.    Speak into

    20    the microphone.    Say and spell your name for the record.

    21               THE WITNESS:   Shawn Griner, S-h-a-w-n, G-r-i-n-e-r.

    22               THE COURT:   Thank you, Mr. Griner.

    23               Mr. Sadow, I'll turn it over to you for your limited

    24    recross.

    25               MR. SADOW:   Absolutely.   Thank you.
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     1                              RECROSS-EXAMINATION

     2    BY MR. SADOW:

     3    Q.   Good morning, sir.

     4    A.   Good morning.

     5    Q.   Do you remember telling agents of the government and

     6    prosecutors that once Patel was made aware that Griner used

     7    MyOnCallDoc, Patel wanted the company's information, Patel

     8    needed to perform due diligence on MyOnCallDoc, Patel needed to

     9    give the information to his attorney?

    10    A.   I don't -- I don't dispute that.       I believe I said

    11    something to that effect.      That may be exactly what I said.

    12               MR. SADOW:   That's all I have.      Thank you, Your Honor.

    13               THE COURT:   Thank you very much.

    14               And thank you, Mr. Griner.    I know to come all the way

    15    back is not an easy thing, but now you are officially excused.

    16    Thank you very much.

    17               Okay.   Having taken care of that housekeeping matter,

    18    we're now going to turn back to the government.         And the

    19    government at this time is going to present some evidence that

    20    they're going to move into the record, and then we're going to

    21    move on from there to some exhibits that they're going to

    22    publish.

    23               I'll turn it over to you, Ms. Gurskis.

    24               MS. GURSKIS:    Thank you, Your Honor.    At this time, the

    25    government wishes to move in the following exhibits:
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     1    Exhibit 405, 407, 501, 502, 503, 504, 505, 506, 507, 508, 604,

     2    604-A, 611, 611-A, 611-B, 613, 613-A, 614, 614-A, 615, 615-A,

     3    615-B, 1340, 1370, 1413, 1413-A, 1421, 1421-A through -C, 1529,

     4    1687, 1768, 1870, and 1870-A.

     5             THE COURT:    At this time, any objection to that set of

     6    exhibits, Mr. Sadow?

     7             MR. SADOW:    As I have done all the way through, no

     8    objection.

     9             THE COURT:    Thank you.    Those will all be moved into

    10    evidence at this time.

    11          (Government Exhibits 405, 407, 501, 502, 503, 504, 505,

    12         506, 507, 508, 604, 604-A, 611, 611-A, 611-B, 613, 613-A,

    13         614, 614-A, 615, 615-A, 615-B, 1340, 1370, 1413, 1413-A,

    14         1421, 1421-A through -C, 1529, 1687, 1768, 1870, and

    15         1870-A were received in evidence.)

    16             THE COURT:    So at this time, I believe, Ms. Gurskis,

    17    you would request to have the stipulation read.         Is that right?

    18             MS. GURSKIS:    Yes, please, Your Honor.      Thank you.

    19             THE COURT:    So, ladies and gentlemen of the jury, the

    20    next few exhibits that are going to be presented to you will be

    21    done in the overhead projector so that you can read them.           I

    22    need to give you a little bit of guidance as to what it is

    23    you're going to be reading and looking at.

    24             Minal Patel testified at a deposition on June 15, 2017,

    25    and made certain statements in a civil lawsuit titled Omar
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     1    Abdel-Aleem v. Minal Patel and LabSolutions.        These statements

     2    are going to be admitted as Government Exhibits 1115-F, P,

     3    and K.

     4             As with all exhibits, it is up to you to decide how

     5    much weight you want to give these statements.

     6             Do you all understand?

     7             THE JURORS:    Yes.

     8          (Government Exhibits 1115-F, P and K were received in

     9         evidence.)

    10             THE COURT:    Very good.    Those have been admitted.      You

    11    may publish them now.

    12             MS. GURSKIS:      Thank you, Your Honor.

    13             This is a statement of Minal Patel:

    14             "I mean, you don't get -- the point is that I work when

    15    I -- I have a virtual office.       So even if I'm in Timbuktu, I'm

    16    still working.    So I didn't leave LabSolutions.       So you got to

    17    get out of your head that I have to be sitting at a desk to be

    18    working."

    19             And for the record, that was 1115-P.

    20             This is now 1115-F.

    21             "Question:    Are you familiar with Nick Vartanian?

    22             "Answer:    Yes.

    23             "Question:    Okay.   And isn't it true that Nick

    24    Vartanian resigned because of regulatory compliance issues?

    25             "Answer:    No.    Nick Vartanian resigned because he's
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     1    taken -- and we have emails.      He was recruited by Omar to go

     2    join another company, which we also have emails about and text

     3    messages, so...

     4             "Question:    Did Nick Vartanian ever write a letter to

     5    LabSolutions outlining the reasons for his resignation?

     6             "Answer:    Yeah, he did, of things that he was in charge

     7    of -- he and Omar were in charge of.       So if he committed

     8    anything, it was done out of -- when Omar was the CEO, out of

     9    his instructions, and Nick was a -- it was telemedicine.          We

    10    have all the emails, outline, and the workflow, everything from

    11    Omar and Nick Vartanian.       I would love to go into that, please.

    12             "Question:    Okay.    Okay.   So LabSolutions --

    13             "Answer:    I mean, you guys are crazy --

    14             "Question:    Okay.

    15             "Answer:    You guys are insane if you're going to go

    16    down there, but that was all them."

    17             1115-K:

    18             "Question:    Are you the manager of LabSolutions, LLC?

    19             "Answer:    Yes, the founder.

    20             "Question:    Do you have the final say on any decision

    21    that LabSolutions, LLC, makes if you --

    22             "Answer:    If I will -- chose to exercise it, yeah, I

    23    would think so."

    24             THE COURT:    Thank you, Ms. Gurskis.

    25             MS. GURSKIS:    Thank you, Your Honor.
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     1             THE COURT:    Having now published those exhibits and

     2    read them in pursuant to stipulation of the parties,

     3    government's next witness.

     4             MS. DE BOER:    Thank you, Your Honor.      The United States

     5    rests its case.

     6             THE COURT:    Thank you very much to the government's

     7    team.

     8             Ladies and gentlemen, the government has rested their

     9    case.   After much consultation with the lawyers, we found it

    10    advisable to conclude today's proceedings.        That means all of

    11    you are going to get out early, before lunch, and you're going

    12    to get to enjoy the rest of the afternoon.        And the few of you

    13    who are World Cup folks can watch the game this afternoon at

    14    2:00 o'clock and perhaps catch the remainder of the game that I

    15    believe Brazil is playing currently.

    16             This does not mean that we are not on schedule.         We are

    17    now ahead of schedule.     Okay?   I wouldn't waste this afternoon

    18    and not call witnesses unless the lawyers and I had spoken, as

    19    we did this morning, and everything is exactly as it should be.

    20             But this way, you guys who have spent a lot of time

    21    here in the courthouse and worked very hard over the past two

    22    weeks, get a well-deserved break before we enter the last phase

    23    of the case.

    24             Now, what are we expecting next week?        Well, we're

    25    going to come in at 9:00 a.m. on Monday.        Remember, it is up to
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     1    the defense if they wish to present a case.        They will make

     2    that decision on Monday.

     3             After that, we will then get instructions on the law to

     4    all of you, meaning, that we have to put together and work on

     5    what you're going to follow when you're in there deliberating.

     6             Then we still have closing arguments for all of you to

     7    listen to, which are going to be very important because we've

     8    heard a lot of evidence over two weeks, and this is going to be

     9    the opportunity for the lawyers to summarize all of that and

    10    take you back to where we were last Tuesday, all the way up

    11    until today and beyond.

    12             I say this because there's still a lot left to go.

    13    Sometimes jurors hear that the government is done presenting

    14    their case, and they forget that that's not the end.         We still

    15    have several steps left to go, and perhaps most importantly, in

    16    addition to the closing arguments, you haven't received the law

    17    you have to follow to figure out how these facts fit into what

    18    has to be proven beyond a reasonable doubt by the government.

    19             I say that because I want everyone to go into the

    20    weekend remembering that I need you to keep an open mind.          The

    21    case is not over, and we still have steps that need to be taken

    22    that are very important.

    23             So when you go home and the family says why are you

    24    here, it's not even 1:00 o'clock?       You can tell them, Judge

    25    Ruiz fed us donuts, kept us in court for an hour, and then let
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     1    us go home.

     2             And you can tell them that we have to come back next

     3    week, can't talk to you about the case, but I can tell you all

     4    that I do feel very confident, after what I've seen and the

     5    schedule we're on, that we will fit this trial within the

     6    schedule that I promised you when you were selected.

     7             And that's important because I know several of you have

     8    holiday plans the week after next; some of you are traveling.

     9    So this is going to work for everybody.        And I know some of you

    10    have had to explain to your employers and your professors about

    11    your availability.     My hope, again, is to finish inside that

    12    timetable without any sort of issue.

    13             So I wanted to make that promise to you again that I

    14    made to you at the start of the case.

    15             Now, please remember, of course -- I know I repeat it

    16    every time, but it's very important to protect the sanctity of

    17    the trial.    We've come a really long way.      We've worked really

    18    hard.   We want to finish this trial the right way.

    19             That means, do not discuss this case with one another.

    20    Do not discuss this case with family or friends.         You will have

    21    an opportunity, before you know it, to talk about your thoughts

    22    with your fellow jurors at the end.

    23             Do not do any independent research.        Do not look up any

    24    people, places, or things, that you've heard about in this case

    25    on the internet.    Don't look on any research websites,
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     1    Wikipedia, WebMD, whatever it may be.       Do not do any of that.

     2               Continue to please stay off of social media.       That's

     3    very important.    You've done that throughout your service.

     4    Please continue to keep that rule.

     5               If you were to bump into lawyers on Monday and they

     6    avoid you, take no offense.      You must do that.     All of those

     7    rules continue to apply.     You guys have done an incredible job

     8    of following them.      You've been diligent.    You've been focused.

     9    We can't ask for anything more from you all.

    10               We are entering into our third week on Monday.       We're

    11    going to keep the pace going, as you've done up until this

    12    point, and we will get this trial completed and in your hands,

    13    for your deliberations, within the schedule we've promised.            So

    14    I thank you again for your dedication.

    15               So with that being said, you all enjoy a break.       So

    16    take off the rest of the day.      Leave your notepads in the jury

    17    room.    We'll see you all Monday morning at 9:00 a.m.       You are

    18    excused.

    19               THE COURT SECURITY OFFICER:     All rise for the jury.

    20            (Jury exits at 11:24 a.m.)

    21               THE COURT:   Please be seated, everyone.     Just some

    22    housekeeping.    Obviously, I do want to give the defense team an

    23    opportunity to circle back with counsel for Dr. Hegde and

    24    figure out what the latest is.       And they're going to have an

    25    opportunity to do that.
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     1               I don't know, Mr. Samuel, at this point do you just

     2    want to make a brief statement on the Rule 29?         We can just

     3    preserve that.    I know that I'm going to get from you a fulsome

     4    motion, so no ruling will be made from the bench until I get

     5    that.   But go ahead and we can have that.

     6               MR. SAMUEL:   The only thing I want to do is to make

     7    sure the record's protected, so we preserved our rights, and

     8    move pursuant to Rule 29(a) of the Federal Rules of Criminal

     9    Procedure for a judgment of acquittal on each of the ten counts

    10    of the indictment.

    11               I don't think I need to recite each of the counts

    12    today, but before we open on Monday morning, we will get you

    13    something in writing, so it'll be before the defense begins its

    14    case.

    15               So we would move for judgment of acquittal on --

    16    pursuant to Rule 29(a) on all counts of the indictment.

    17               THE COURT:    Very good.   Thank you.   And, you know,

    18    look, I think on the government's end, we might as well wait.

    19    Let's just get the written motion in.       Based on sequencing.

    20    Quite frankly, the government may feel comfortable dealing with

    21    it ore tenus.    I don't necessarily need a response to that.

    22               We'll wait and get it more fleshed out when they've had

    23    a chance to look at the record.       I don't think there's any harm

    24    in that.    And I can go ahead and make a ruling on that,

    25    depending on how things play out Monday morning.         If maybe we
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     1    need to address it later in the day, we can do that.

     2              MS. DE BOER:   That's fine, Your Honor.      And just to

     3    protect our record, we oppose on all ten counts.         I would

     4    ask -- and this is something I can confirm with Mr. Samuel on.

     5    If that's a count in particular -- I mean, I think our

     6    expectation is this case is proceeding in some fashion, and

     7    there may be some counts that they think that we haven't

     8    proved.

     9              So if there is a count in particular their motion is

    10    going to focus on, maybe we can talk about it, and then we

    11    could be prepared to put something in writing shortly after

    12    they file, or at least, you know, be able to argue it and be

    13    tailored so we're not wasting a bunch of time.

    14              So I think we would request that.      But obviously, we

    15    oppose the motion in its entirety at this point.

    16              THE COURT:   Understood.    And I think that can probably

    17    be worked out.    You can meet and confer with him, and get a

    18    sense of the finer points of his argument.        I don't have a

    19    problem with that either.

    20              All right.   So having taken care of that, I will just

    21    turn to some housekeeping.      Obviously we have to figure out the

    22    Hegde situation, because if indeed the defense wants to call

    23    her, she may very well be called as the first witness on

    24    Monday.

    25              So her availability, her decision on the Fifth
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     1    Amendment, which we don't know if she's going to exercise quite

     2    yet, and certainly the production issue, where they're looking

     3    through some documents, is still pending.

     4               I know it's mostly for scheduling, but just checking in

     5    with the defense team, do we have a sense, as I asked

     6    yesterday, of what we're going to be doing on Monday in terms

     7    of the defense case-in-chief?         I mean, to the extent I can get

     8    some outlines, only because I want to plan ahead and manage the

     9    juror expectations.

    10               MR. SADOW:    It's our expectation that we may call five

    11    or six witnesses.       They would go through Monday and into

    12    Tuesday.    Obviously with the cross-examination of the

    13    government, hopefully we would be ready to rest end of the day

    14    Tuesday, as presently scheduled, or earlier on Wednesday if it

    15    doesn't.

    16               THE COURT:    All right.    So that works.   I think we can

    17    be prepared for that.      And that puts us in the jury's hands by

    18    mid week, which puts us well ahead of schedule.         And certainly,

    19    depending on how things come out in this phase, puts us well

    20    within the ability to, perhaps within next week, complete

    21    anything regarding forfeiture, or worst case, it spills one

    22    more day.

    23               But certainly into the following week, the 19th.        But I

    24    don't think we have any concern now on scheduling.

    25               I think the easiest thing to do, just to try to get
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     1    ahead of it a little bit, is to break now and give the parties

     2    a chance to sit down, maybe do a little bit of meet and confer,

     3    figure out what the situation is with this one particular

     4    witness, Dr. Hegde, and then, after that, we can all meet here

     5    perhaps a little bit later on, after the lunch break, with an

     6    update, and you guys can all let me know if there's any rulings

     7    I need to make or anything else I need to do as it pertains to

     8    our Monday lineup.

     9             So maybe 3:00 o'clock?      I was thinking something to

    10    that effect.    What do you think?

    11             MS. DE BOER:    That's fine for the government, Your

    12    Honor.   Could we get a list of who the five or six witnesses

    13    are?

    14             THE COURT:    Yes.    I wanted to confer with you all and

    15    maybe we can get -- if you have them now, that's great.          I just

    16    didn't know if you had them.

    17             MR. RAFFERTY:     Cecilia Godwin, Dr. Bernadette

    18    Wildemore, Mark O'Meara, Madhuri Hegde, and Tobi Watt.

    19             THE COURT:    Thank you.    I think with that we can plan

    20    ahead a little bit, and now I know we're looking at outer

    21    range, Wednesday morning, perhaps Tuesday.        And we'll see where

    22    we go.

    23             All right.    Good.   So that gives us a good game plan.

    24             One thing I wanted to inquire about, just so I can

    25    start looking ahead, I'm certain I have it -- I'll go back and
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     1    look.   But it might be very useful for the Court because we've

     2    had -- I know we still have some to go, especially with advice

     3    of counsel issues, but to the extent we have a good working

     4    draft of the jury instructions, it would be beneficial to go

     5    back and take a look at that.

     6               I'm certain you've all emailed them to me, as I know

     7    you have to under my scheduling order, but perhaps there could

     8    be a revised version -- I don't need that right now, but if the

     9    parties could maybe start looking to get me something by

    10    Monday, just something that is revised, it will save us a lot

    11    of time on a charge conference if I can get something that's

    12    updated.

    13               Maybe you have something already that I can start

    14    looking at, and you can get it to me by the end of today, that

    15    would be great.    But I would like to have a draft, a working

    16    draft that I can start tweaking so that we don't find ourselves

    17    in a belabored charge conference.

    18               I would assume the majority of the background

    19    instructions are going to be agreed, so it may just be a few

    20    specials that we have to tailor in terms of either advice of

    21    counsel, or if my memory serves me right, I still think the

    22    Anti-Kickback Statute doesn't have a pattern, if my memory

    23    serves me right.

    24               So we're still working off the amalgamation of things

    25    that me, Martinez, Gayles, and a few others have done.
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     1             MS. DE BOER:    That's correct, Your Honor.       Although --

     2    and we did -- the parties did submit the joint proposed

     3    instructions according to Your Honor's --

     4             THE COURT:    I'm sure you did.     I probably have it saved

     5    in a file.    I just haven't gone back and looked.        I don't know

     6    if it's changed materially.

     7             MS. DE BOER:    I don't know that there will be a lot of

     8    changes, and we'll confer with the defense over it.         I don't

     9    think that there were any disputes on the Anti-Kickback

    10    Statute, if my memory -- on that instruction, if my memory

    11    serves me.

    12             THE COURT:    Did you use the one that I gave?       Because I

    13    had done one that I customed, in Agresti probably, that I think

    14    was custom.    I don't know.     If you all agreed to it, great.      I

    15    know that I've tweaked one.      So I've done it before.

    16             MS. DE BOER:    Yeah.    Agresti, I don't think that was

    17    Medicare.

    18             THE COURT:    Oh, you're right.     It wasn't.

    19             MS. DE BOER:    So it was probably not AKS.       We will go

    20    back and see if we can --

    21             THE COURT:    It might have been Elizabeth Young then.

    22    That's what it was.     I had the Elizabeth Young trial.       I've had

    23    more of these than I care to admit.

    24             Okay.   So I'll take a look.      If you have it handy and

    25    you want to take a second look and email it to me, even if it's
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     1    a repeat, that's fine, just so it's on the top of the pile.

     2    I'll pull it and I can download it and start looking at

     3    whatever has been suggested.      That would be great.

     4             MS. DE BOER:    Sure.    And just to preview for the Court,

     5    my recollection is that the disagreements were advice of

     6    counsel instruction, and the government was hesitating only

     7    because we don't know what evidence is going to come in.          So I

     8    think that's a decision we make, you know, at the end.

     9             And then deliberate ignorance, and the defense was

    10    objecting to that.     I think otherwise, if memory serves, we

    11    were more or less on the same page.

    12             THE COURT:    That's great.    I mean -- and I agree.      I

    13    mean, most of that stuff, you really can't game it out until we

    14    see what happens anyway.       So I agree with you 100 percent.     We

    15    can maybe make a judgment call at the end of the defense's

    16    case.

    17             One thing to note that I think is valuable is that if

    18    that's all we have, the charge conference should be relatively

    19    brief.   I mean, I can debate deliberate ignorance and figure

    20    that out, and I've given versions of that instruction before.

    21    So that won't take long.

    22             All right.    Good.    I'm just trying to build that in so

    23    that we don't delay and we can tee this up.

    24             Certainly I envision, just to give the parties a chance

    25    to kind of get their mind around it, you know, in a perfect
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     1    world, if we are resting at the end of one of the days we have,

     2    a Tuesday, regardless of how early that rest may be, I would

     3    give you the next day to do the closings.

     4             So I just want you to plan ahead.       I'm not going to

     5    throw the closing out at 3:30 or 4:00; that's just not

     6    happening.   I'll give it to the next day.       We have the time

     7    now.

     8             So that way, I have a fresh set of jurors, you guys

     9    have a chance to get any demonstratives together, we can go

    10    through the jury instructions calmly beforehand.

    11             So we'll play it by ear, but certainly I'd like to

    12    try -- either it's going to be a morning kickoff with closings

    13    or one of those where we are having our lunch break and we

    14    start it right after.

    15             Anything that bleeds into the late afternoon, with the

    16    amount of material we've covered, it's a disservice to both

    17    sides to try to do a close that late.       And I don't want my

    18    jurors breaking and beginning to deliberate at 5:30 or 6:00.

    19             So I just wanted to give you guys that so you can plan

    20    ahead.

    21             MS. DE BOER:    Okay.   So it sounds like if the defense

    22    rests Tuesday, we close Wednesday.       If the defense rests

    23    Wednesday, we can close Thursday.

    24             THE COURT:    Yeah.   It's possible unless -- to

    25    Mr. Sadow's point, if there's, like, a little bit left
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     1    Wednesday morning, I could see us having an extended lunch, and

     2    then I would start the closings at 2:00 o'clock Wednesday

     3    afternoon.

     4             MS. DE BOER:    Sure.

     5             THE COURT:    So that's just a possibility.       But, yes, if

     6    we finish on Tuesday, I expect closings starting at 9:00 a.m.

     7    on Wednesday.

     8             MS. DE BOER:    Okay.    And, Your Honor, do you charge the

     9    jury before closings or after?

    10             THE COURT:    Always, yeah.

    11             MS. DE BOER:    Before?

    12             THE COURT:    Yeah.   That way, it gives you guys

    13    guidance.    I find that it prevents misstatements of the law.

    14    And to the extent you want to be able to use blowups of the

    15    verdict form or you want to do blowups of any particular

    16    instructions, it makes for a better closing.        So I've always

    17    done it that way.     So that way, you can plan ahead.

    18             MR. SADOW:    A couple of housekeeping matters.

    19             THE COURT:    Tell me.

    20             MR. SADOW:    One:    I will be here at 3:00 p.m.     Is it

    21    okay for my comrades at arms not to be here?

    22             THE COURT:    Yes.    Everyone, please enjoy the rest of

    23    the Friday, and do what you've got to do.        The only reason I

    24    want you here is to give me an update about what, if anything,

    25    they find when you do this search for Hegde.        That's really all
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     1    I need.   Everything else has been done.       Yeah.

     2              MR. SADOW:   And, two, as part of this, may the

     3    defendant be excused and waive his presence?

     4              THE COURT:   Yes, he can be.     So Mr. Patel is free to

     5    go.   There's no need to stay any longer.       This is purely

     6    administrative.    It's just to see what's going to happen with

     7    the doctor, whether we're going to have to do it with Zoom so I

     8    can get my tech folks ready, whether she's going to be invoking

     9    the Fifth, et cetera.     That's all.

    10              MR. SADOW:   Okay.   And, three, will the Court have

    11    Cuban coffee for those of us who --

    12              THE COURT:   Yes.    Yes, I will.    You deserve it, and I

    13    will reward the parties accordingly.         So there will be Cuban

    14    coffee ready for you when you return at 3:00 o'clock.          I can

    15    make that guarantee.

    16              MR. SADOW:   I think both the government and the defense

    17    would be interested in the length of the argument that you

    18    would permit us.

    19              THE COURT:   Oh.    For closing?

    20              MR. SADOW:   Yes.

    21              THE COURT:   Tell me what you think you need.

    22              MR. SADOW:   90 minutes.

    23              THE COURT:   Okay.   Government, I'm assuming, between

    24    first and second close, I think you don't need more than 90.

    25              MS. DE BOER:   I think -- yeah, 90 is fine.
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     1               THE COURT:   I can live with that.    And I'll hold you to

     2    it.   If you need 90, I'll give you 90.

     3               MR. SADOW:   All right.   Now, going to the well too

     4    often --

     5               THE COURT:   You've got to be careful.     You're on a roll

     6    right now.    Be careful.

     7               MR. SADOW:   I'm going to request it one more time.

     8    Would you allow two of the defense counsel to make the

     9    argument?

    10               THE COURT:   You know what?   I don't --

    11               Does the government have any objection to that,

    12    splitting the time?

    13               MS. DE BOER:   It's one closing but --

    14               THE COURT:   Yes, yes.    He doesn't get two 90-minute

    15    sessions.

    16               Listen, you guys have litigated it in separate tracks,

    17    if you will, with Mr. Rafferty on the healthcare side, and

    18    you've been doing more of the crosses.       I don't have a problem

    19    if you split it.    That's fine by me.     I don't have an issue.

    20               It might work out organically.     So if you guys take 45

    21    and 45 and that's how you want to do it, I don't have a problem

    22    with that.

    23               MR. SADOW:   Actually, we're thinking more like 10 and

    24    80.   But, in any event --

    25               THE COURT:   Someone gets to come in and do a little
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     1    housekeeping at the end, however you want to do it, but I'm

     2    fine with that.    I'll give each side 90, and I'm fine with you

     3    guys splitting up your 90 between two counsel and then the

     4    government using their 90 between first and second close.

     5             MR. SADOW:    And I'm not pushing any further.       I'm done.

     6             THE COURT:    That's all right.     Well, you got everything

     7    you wanted, so I think we're good.

     8             All right.    So with that being said, I'll give you guys

     9    a nicer, lengthier lunch break and really doing so to see if we

    10    can get some results from our folks on the non-parties.

    11             So we'll see you all here, with Cuban coffee in hand,

    12    at 3:00 o'clock for a brief status conference before we wrap up

    13    today and we see you all on Monday.

    14             So we are in recess.      Thank you, everyone.

    15             MS. DE BOER:    Thank you, Your Honor.

    16             MR. SADOW:    Thank you, Your Honor.

    17             THE COURT SECURITY OFFICER:       All rise.

    18          (Court recessed at 11:38 a.m.)

    19          (Back on the record at 3:15 p.m.)

    20             THE COURT:    Okay.   So I saw the email, Mr. Sadow.       I

    21    don't know if anything has changed.       My understanding is they

    22    have not made contact, presumably because of the time change,

    23    with Dr. Hegde.

    24             Is that still where we're at now, that they haven't

    25    given us any information?
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     1             MR. SADOW:    As far as I know, correct, your Honor.

     2             THE COURT:    All right.    So, look, I mean, let me know

     3    over the weekend.     I assume you guys are going to make contact

     4    with the nonparty counsel and may have a better sense what

     5    we're going to be doing in terms of the possibility of Zoom, if

     6    necessary.   Certainly, if she plans on invoking the Fifth,

     7    we're going to want to find out.

     8             So I guess the easiest thing to do is, when you get a

     9    chance, Mr. Sadow, if you would just email the Court when

    10    you've spoken to the lawyers if there's any updates, so I know

    11    what to expect.    Because, obviously, I'd much rather have her

    12    lined up and ready to go at 9:00 a.m. on Monday if we're going

    13    to call her.

    14             I don't imagine, at this point, Ms. de Boer, that the

    15    government can really make an educated call on the ability to

    16    have her testify remote yet, right?       You just don't know?

    17             MS. DE BOER:    I think that's fair.      Although

    18    Mr. Rafferty was kind enough to share with me some of the

    19    additional topics that he plans to cover.        I think it's pretty

    20    substantive.    I think it goes to the heart of, for example,

    21    Dr. Magliocco and some of the key witnesses in the government's

    22    case.

    23             So at this point, I still have the same concerns that I

    24    expressed earlier.     But, you know, we'll just see what the

    25    weekend brings.
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     1              THE COURT:    Okay.   And the one thing about having her

     2    testify, you know, look at -- I think she landed the 13th, is

     3    my recollection.

     4              So, you know, I have to see what I can do.        Maybe I can

     5    get her here sooner; if not, obviously, we could probably use

     6    the time wisely, but it would be a shame to have to postpone

     7    the end of the trial because we can't physically get her here.

     8              But, you know, Mr. Sadow, you had suggested -- which I

     9    thought was a good idea -- about perhaps the deposition route.

    10    So there may be some other way to do this; I'm not sure.

    11              It might just be too premature until we get a sense of

    12    -- look, this is obviously going to be mooted if she decides to

    13    invoke the Fifth.      I don't even think the lawyers have talked

    14    to her yet.    So that may take care of itself.

    15              MS. DE BOER:    They have not.    We spoke with them at

    16    1:00 or 2:00, and they had not been able to reach her.

    17              THE COURT:    So what do you think, Mr. Sadow, that we

    18    wrap up today -- I mean, I don't know if you can make much of a

    19    call until you hear more.       But what does your instinct tell

    20    you?    We'll get an update over the weekend, and you guys will

    21    just let me know or make a judgment call about how much you

    22    need her?

    23              MR. SADOW:    I think that's precisely the situation

    24    we'll be in.    I'll let everybody know the moment we have some

    25    idea.   The likelihood of calling her has probably been reduced
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     1    because the document, what we can tell, was not created by her.

     2             THE COURT:    That's a good point.     That we did confirm,

     3    right?

     4             MR. SADOW:    Yeah.

     5             THE COURT:    So that helps.    So you guys have to sit

     6    down and see -- I know there's other subjects, so I don't want

     7    to call it out of question.      But you guys have to decide if

     8    that's worthwhile.     Because you're right.     I mean, I don't

     9    think we're still searching, right?       Your email seemed to

    10    suggest they were still looking, but --

    11             MR. SADOW:    They appear to have been still looking, but

    12    they just have not found anything so far that would connect her

    13    to anything besides having received it.

    14             Right?

    15             MS. DE BOER:    That's correct.     And I was on the call

    16    with Mr. Rafferty and Ms. Hegde's counsel, and they found four

    17    versions of the letter that had been sent to Ms. Hegde, but

    18    they found no evidence in the emails that she authored it or

    19    edited it or commented on it.

    20             However, they have not spoken to her about that.          So

    21    suppose there was a phone call or suppose she provided some

    22    input in another form; they don't know the answer to that.

    23             THE COURT:    Okay.   So I think we have to have an update

    24    from them.

    25             MR. SADOW:    The other part of this is, with all due
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     1    consideration from the Court, you know, we haven't spoken to

     2    her.   I tend not to like to put a witness on the stand that I

     3    haven't spoken to.

     4             THE COURT:    You don't know what they're going to say.

     5    I'm with you on that.

     6             MR. SADOW:    It kind of changes the idea.      So...

     7             THE COURT:    Did you get a chance, by the way, to

     8    confirm -- they haven't told you they were willing to do that

     9    yet, right?    You kind of left it --

    10             MR. SADOW:    They haven't told us anything other than it

    11    was taking them -- it would take them a long time -- weeks, if

    12    not months -- to get the records together.

    13             THE COURT:    Right.   I trust -- and maybe there's a

    14    possibility, if you had asked counsel if he was willing to do

    15    it, that maybe a meeting could be arranged with her to get a

    16    better sense of what her testimony might be, and it might

    17    obviate the need to call her if it's not anything that we

    18    necessarily think is going to be productive and hasn't been

    19    covered by another witness.

    20             I will say this --

    21             MR. SADOW:    Or would be subject to cross-examination

    22    that would make things worse.

    23             THE COURT:    Make things worse.     That's a great point.

    24             So I think at this point, look, I'll be on standby.          We

    25    have people to call, right?      So, regardless, we have a game
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     1    plan for Monday.    She's not the linchpin of it.       So if she's

     2    going to testify, we'll sort it out.

     3             The more information you guys email me, just loop me in

     4    over the weekend, just so I have an expectation coming into

     5    court Monday.    But I know the defense will prep other people in

     6    the lineup in the event we don't call her, and we'll make our

     7    moves Monday, Tuesday, and then we'll see where we're at.

     8             But just keep me posted.      I mean, at this point, all we

     9    can do is ask them to run the searches.        And I'm glad at least

    10    we got that.    Because it sounds like they did what we asked

    11    this morning -- or what I asked.       And they ran the searches;

    12    they did what they had to do.

    13             I hadn't even docketed the order that I'm drafting from

    14    all my rulings from this morning yet, but they've taken it, and

    15    they've executed it to search.

    16             So the fact that they didn't find anything means that

    17    at least we're advancing the ball.       So we've been productive

    18    since this morning.

    19             At this point, let's just see how things develop over

    20    the coming days when she speaks to her counsel.         And then you

    21    guys let me know.    We'll make a judgment call, and we'll pick

    22    up where we left off and kick it over to the defense on Monday.

    23    So I think that's about all we can do.

    24             Anything else before I let you guys go on the

    25    government's side?
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     1               MS. DE BOER:   One other matter, Your Honor.

     2               THE COURT:   Yeah.

     3               MS. DE BOER:   Pertaining to Toby Watt, who is the

     4    attorney that the defense will call.

     5               THE COURT:   Yes.

     6               MS. DE BOER:   So there are 13 additional documents that

     7    Fox Rothschild has that the defense has objected to the

     8    production of.

     9               My understanding, from speaking to Fox Rothschild's

    10    attorney that's handling this, is that they pertain to the

    11    affidavit that Mr. Watt prepared and back-and-forth about that

    12    affidavit or drafts of it.

    13               And we are requesting that those be produced.       We think

    14    they're responsive to the subpoena that we had issued to Fox

    15    Rothschild.    We don't think that they're privileged in light of

    16    the waiver, and we think that they are potentially Rule 26.2 or

    17    impeachment material for the defense's witness.

    18               THE COURT:   Okay.   Do we need -- I don't know if we

    19    need an in-camera review of those.

    20               MR. SADOW:   You may.   And I'm not sure.    I'm not going

    21    to agree that Rule 26.2 includes draft affidavits any more than

    22    it includes draft interview reports or notes.

    23               But in any event, I'll be able to get those to the

    24    Court.   Take my word for it, it's going to take you about two

    25    minutes.
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     1               THE COURT:   Got it.    I can do it in the morning on

     2    Monday, then, if I get it.        Or if you want to email it to me

     3    like you've done in the past, Mr. Sadow, I can look at it over

     4    the weekend.    And I'll make a ruling on those --

     5               MR. SADOW:   I'm not going to ruin your weekend with

     6    this.

     7               THE COURT:   No.   It's all right.   But I can go

     8    through -- we have done that throughout the trial.         I don't

     9    have a problem with that.       And we can make a judgment call on

    10    that on Monday.    I can take a brief moment to do it.       That's

    11    not a problem.

    12               All right.   Okay.   So I'll get some updates over the

    13    weekend.    I know what we've got to do on Monday.

    14               Anything else from the government's side?

    15               MS. DE BOER:   No, Your Honor.    Thank you.

    16               THE COURT:   Anything else, Mr. Sadow, that you can

    17    think of right now?

    18               MR. SADOW:   No, Your Honor.

    19               THE COURT:   All right, guys.    Well, have a wonderful

    20    weekend.    We'll see each other at 9:00 a.m. on Monday.

    21               Keep me posted over the weekend via email.       All right.

    22               MR. SADOW:   Absolutely.

    23               MS. DE BOER:   Thank you, Your Honor.

    24               MS. GURSKIS:   Thank you, Your Honor.

    25               THE COURT:   You got it, guys.    You're welcome.
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     1            (Court recessed at 3:23 p.m.)

     2

     3                           C E R T I F I C A T E

     4

     5                I hereby certify that the foregoing is an

     6    accurate transcription of the proceedings in the

     7    above-entitled matter.

     8

     9
          DATE:    December 10, 2022 /s/Ilona Lupowitz
    10                               ILONA LUPOWITZ, CRR, RPR, RMR
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    11                               United States District Court
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